Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 1 of 10 Page ID
                                #:25174



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13 Attorneys for Plaintiff FLO & EDDIE, INC. and the Class
14
15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                   WESTERN DIVISION
18 FLO & EDDIE, INC., a California                 Case No. CV13-05693 PSG (GJSx)
   corporation, individually and on behalf
19 of all others similarly situated,               REPLY IN SUPPORT OF MOTION
                                                   BY PLAINTIFF FOR AN AWARD
20                      Plaintiff,                 OF ATTORNEYS’ FEES AND
21              v.                                 COSTS
22 SIRIUS XM RADIO INC., a Delaware                Date: May 8, 2017
                                                   Time: 1:30 p.m.
23 corporation; and DOES 1 through 10,             Place: Courtroom 6A
24                   Defendant.

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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 2 of 10 Page ID
                                #:25175



 1                                            TABLE OF CONTENTS
 2                                                                                                                         Page
 3
 4 I.        INTRODUCTION ............................................................................................. 1
 5 II.       CLASS COUNSEL SEEKS 30% OF THE SETTLEMENT WHICH
             IS REASONABLE IN LIGHT OF THE LEGAL SERVICES
 6           PROVIDED TO DATE AND ONGOING WORK ......................................... 3
 7 III.      RECENT CASE DEVELOPMENTS HIGHLIGHT THE
 8           SIGNIFICANT RISKS UNDERTAKEN BY CLASS COUNSEL
             AND THE VALUE OF THEIR EFFORTS ON BEHALF OF THE
 9           CLASS ............................................................................................................... 5
10 IV.       CLASS COUNSEL SEEK RECOVERY OF REASONABLE COSTS
             AND EXPENSES WHICH THEY CONTINUE TO INCUR .......................... 6
11
12 V.        CONCLUSION ................................................................................................. 7

13
14
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                                                                  i
     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 3 of 10 Page ID
                                #:25176



 1 I.        INTRODUCTION
 2           Class Counsel submits this reply in support of its motion for fees and costs—
 3 a motion that received no objection or opposition from any Class member and
 4 which remains reasonable and appropriate given the favorable result achieved and
 5 the unique ongoing uncertainties and work associated with this matter.
 6           This is an extraordinary case in which Plaintiffs, through Class Counsel,
 7 secured a settlement that allows for the first time in history a class of owners to
 8 recover for performance of pre-1972 sound recordings. As detailed in Class
 9 Counsel’s opening brief, Dkt. 666 (Class Counsel’s “Fee Motion” or “opening
10 motion”), Class Counsel obtained this settlement and litigated this case to the eve
11 of trial in a skillful and efficient manner, despite considerable risk. Notably, not
12 one of the Class Members has objected to Class Counsel’s Fee Motion. 1 This is a
13 testament to the reasonableness of Class Counsel’s request and the result achieved
14 by Class Counsel. 2
15           As discussed in the Fee Motion, the requested fee of 30% is manifestly fair
16 and reasonable.       A 30% fee is consistent with the percentages awarded in
17 comparable cases. As applied to the current guaranteed $25.5 million cash benefit,
18 a 30% award would amount to $7.65 million. This amount is lower than Class
19
20
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21          Class Counsel’s request of 30% is less than the amount disclosed to Class
   Members in the Court-approved notice to the class. Class Counsel’s Motion for
22 Preliminary Approval, Dkt. 666-1, and the Court-approved class notice, Dkt. 686-4,
23 provided notice of Class Counsel’s intention to seek “an award of attorney’s fees of
   up to one-third from the Settlement.” See, e.g., Dkt. 684-4 at Page 5 of 303.
24        2
            The purported amici brief pursuant to which various entities—including
25 former putative Class members who opted out of this case—seek leave to file
   regarding the settlement also does not take issue with Class Counsel’s request for
26
   fees and costs. Dkt. 681. As outlined in Plaintiffs’ Opposition, the amici
27 petitioners have no standing, in any event, to object to or interfere with the
   proposed class settlement. Dkt. 687.
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 4 of 10 Page ID
                                #:25177



 1 Counsel’s current lodestar. 3
 2           At the same time, recent developments underscore the substantial benefit to
 3 the Class of the settlement obtained by Class Counsel; the large investment made
 4 and the significant risks undertaken by Class Counsel; and the future work still
 5 required to administer the terms of the settlement. Specifically:
 6           • The settlement, which was reached after years of hard-fought litigation,
 7               extensive negotiations, and on the eve of trial, provides the Class with an
 8               exceptional recovery – for the first time allowing a class of owners to
 9               recover for performance of pre-1972 sound recordings. The settlement
10               provides a guaranteed $25,500,000 million in cash benefits, which could
11               increase to over $73 million through additional cash payments and a
12               royalty program. See Dkt. 686-2 ¶ 22-23.
13           • To date, Class Counsel has invested $8,727,094.80 in time and
14               $1,679,587.55 in expenses in the cases against Sirius XM on a purely
15               contingent basis.    Indeed, the lodestar in this case exceeds Class
16               Counsel’s fee request.
17           • Class Counsel seeks a total of $1,679,587.55 in costs incurred to date,
18               which includes an additional $146,037.56 in costs incurred since the
19               filing of its opening motion seeking fees and costs.
20           • As described below, since the filing of its opening motion, Class Counsel
21               has continued to expend time and resources in implementing class notice,
22               updating the class action website, overseeing administration of the
23               settlement process, and seeking final approval of the settlement. Class
24               Counsel also has continued to litigate underlying issues related to the
25
26           3
           Class Counsel also requests 30% of any additional sums paid under the
27 Settlement by Sirius XM depending on outcomes in California and New York, and
   any going forward royalties, if and when earned by Class members.
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 5 of 10 Page ID
                                #:25178



 1               existence of a public performance right for pre-1972 sound recordings in
 2               appellate proceedings in New York and Florida.          As a result, Class
 3               Counsel’s lodestar has increased by $370,217.00 for work from
 4               November 30, 2016 and April 20, 2017 (excluding work performed on its
 5               motion for attorneys’ fees).
 6           • The substantial risk borne by Class Counsel in pursuing these actions for
 7               pre-72 sound recordings against Sirius XM is highlighted by the recent
 8               ruling of the New York Court of Appeals, which found no right of public
 9               performance under New York common law. Despite the possibility of
10               recovering nothing, Class Counsel undertook these actions and continues
11               to advocate vigorously on behalf of the Class in multiple jurisdictions.
12           For the reasons described in its opening motion and supplemented by this
13 reply, Class Counsel seeks 30% -- or $7.65 million — in fees of the $25.5 million
14 in guaranteed benefits awarded to the Class as part of the settlement, along with
15 30% of any additional sums paid under the Settlement by Sirius XM depending on
16 outcomes in California and New York and any going forward royalties, if and when
17 earned by Class members. Class Counsel also seeks reimbursement of
18 $1,679,587.55 for costs and expenses incurred through April 20, 2017. 4
19 II.       CLASS       COUNSEL’S        FEE        REQUEST      OF    30%      OF    THE
20           SETTLEMENT IS REASONABLE IN LIGHT OF THE LEGAL
21           SERVICES PROVIDED TO DATE AND ONGOING WORK.
22           As described in its opening brief, Dkt 670, Class Counsel’s work on behalf
23 of a class of owners of pre-72 sound recordings represented a herculean task – from
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           Class Counsel’s opening brief requested reimbursement of $1,533,549.99
26
   of expenses. As discussed below, Class Counsel has continued to incur out-of-
27 pocket expenses since filing its opening brief, and requests herein that such
   additional expenses be reimbursed.
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 6 of 10 Page ID
                                #:25179



 1 developing and pursuing the legal strategy for establishing a performance right for
 2 pre-72 sound recordings as an issue of first impression, to securing class
 3 certification, to preparing for trial before eventually reaching the proposed
 4 classwide settlement. Subsequent to the filing of Class Counsel’s Fee Motion,
 5 Class Counsel has continued to dedicate substantial time and incur additional
 6 expenses to further benefit the Class: In the California action, Class Counsel
 7 prepared and filed motions with this Court for preliminary and final approval of the
 8 class settlement, responded to Sirius XM’s statement regarding preliminary
 9 approval, and submitted an Opposition to the motion by non-Class members to file
10 an amicus brief. See Supplemental Declaration of Henry Gradstein in Support of
11 Fee Motion (“Gradstein Decl.”) at ¶ 2.
12           Class Counsel also has worked extensively with the Royalty Administrator
13 Music Reports Inc. (“MRI”) to develop the database and website for Class
14 members to claim their pro-rata share of the Settlement Fund. Gradstein Decl. at ¶
15 3. Class Counsel has also worked extensively with Garden City Group (“GCG”),
16 the Administrator, to develop the class action website, provide notice to Class
17 members, and update the Class with additional information as the case has
18 progressed. Id. Class Counsel has also had numerous communications with Class
19 members regarding the status of the settlement. Id.
20           In the New York proceedings, Class Counsel prepared and filed the letter
21 brief as requested by the Second Circuit regarding the ruling by the New York
22 Court of Appeals, and submitted as well as a supplemental letter brief. In the
23 Florida proceedings, Class Counsel prepared and filed the reply brief with the
24 Florida Supreme Court and prepared for and argued the appeal before the Florida
25 Supreme Court on April 6, 2017. Gradstein Decl. at ¶ 2.
26           The additional work by Class Counsel has further increased the lodestar in
27 these matters to $8,727,094.80 – which includes $370,217 in additional time
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 7 of 10 Page ID
                                #:25180



 1 incurred since the filing of Class Counsel’s original motion for fees.           See
 2 Supplemental Declaration of Steven Sklaver in Support of Fee Motion (“Sklaver
 3 Decl.”) at ¶ 4. The lodestar thus is greater than the $7.65 million Class Counsel
 4 seeks as a percentage of the current cash payment amount of $25.5 million. Class
 5 Counsel’s fees would increase should Plaintiff’s prevail on the existence of a
 6 performance right in California and Florida on appeal.    Class Counsel also seeks
 7 a 30% fee on any future royalties collected by the class but only when, if and after
 8 such royalties are collected.
 9           Given the complexities of the settlement and its appellate contingencies,
10 Class Counsel’s work will continue for quite some time following the Court’s
11 determination of whether to grant final approval of the settlement. Administration
12 of the Settlement Fund will require Class Counsel to continue to work with the
13 Administrator GCG and the Royalty Administrator MRI and field questions from
14 Class members. Class Counsel will be involved in implementing the future royalty
15 program contemplated under the Settlement Agreement. Additionally, Class
16 Counsel will remain available to address issues arising from the forthcoming ruling
17 by the Florida Supreme Court and to litigate any further proceedings in the
18 Eleventh Circuit.      Finally, as envisioned by the Settlement Agreement, Class
19 Counsel will need to prepare, brief and argue Sirius XM’s appeal from this Court’s
20 summary judgment ruling, both in the Ninth Circuit and potentially in the
21 California Supreme Court. Gradstein Decl. at ¶ 4.
22 III.      RECENT DEVELOPMENTS HIGHLIGHT THE SIGNIFICANT
23           RISKS UNDERTAKEN BY CLASS COUNSEL AND THE VALUE OF
24           THEIR EFFORTS ON BEHALF OF THE CLASS
25           Class Counsel pursued this case on a pure contingency basis with the
26 attendant risk of no recovery. That risk was particularly acute here on an issue this
27 Court has recognized as one of first impression and given the differing legal paths
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 8 of 10 Page ID
                                #:25181



 1 available in different jurisdictions.
 2           Shortly after the motion for preliminary approval was granted by this Court,
 3 the New York Court of Appeals held that a right of public performance does not
 4 exist under New York common law and the Second Circuit Court of Appeals
 5 directed summary judgment in favor of Sirius XM on Flo & Eddie’s claims in that
 6 jurisdiction. Class Counsel’s ability to obtain a settlement that guarantees the Class
 7 a recovery of at least $25.5 million against this backdrop of legal uncertainty, and
 8 their willingness to face the risks associated with that uncertainty through the eve
 9 of trial to obtain the best result possible for the Class, further demonstrates the
10 appropriateness of the fee request here. Even with the adverse New York ruling,
11 the guaranteed $25.5 million in cash payments by Sirius XM could increase to
12 $35,500,000. The Settlement also creates a royalty program for Sirius XM to pay
13 the Class up to an additional $37.68 million. Dkt. 686-1. Class Counsel will
14 continue to risk their time to pursue those additional recoveries on behalf of the
15 Class, and they will be further compensated only if their efforts are successful.
16 IV.       CLASS COUNSEL SEEKS RECOVERY OF REASONABLE COSTS
17           AND EXPENSES, WHICH THEY CONTINUE TO INCUR.
18           Class Counsel also requests reimbursement in the amount of $1,679,587.55
19 for out-of-pocket expenses reasonably and necessarily incurred in connection with
20 this litigation. Class Counsel outlined various costs incurred during the pendency
21 of this action and the parallel cases in New York and Florida. Dkt. 672. Since that
22 time, Class Counsel has expended an additional $146,037.56 on appellate
23 specialists who assisted with preparation for oral argument before the Florida
24 Supreme Court, damages experts to help quantify the value of the settlement to the
25 Class, and research done in preparing the motion for final approval of the
26 settlement. See Sklaver Decl. at ¶¶7-9; Gradstein Decl. at ¶ 7. As the work in this
27 matter continues, including any future expenses for administration of the settlement
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 9 of 10 Page ID
                                #:25182



 1 and going-forward royalty, Class Counsel reserves the right to seek additional
 2 reimbursement of costs in the future.
 3 V.        CONCLUSION
 4           For each of the foregoing reasons, Class Counsel respectfully submits the
 5 Court should approve the fee application and award Class Counsel attorneys’ fees
 6 in the amount of $7.65 million in fees (30%) of the $25.5 million in guaranteed
 7 cash payments awarded, along with 30% of any additional sums paid under the
 8 Settlement by Sirius XM including future royalties paid to the Class.        Class
 9 Counsel further submits that the Court should grant Class Counsel’s request for
10 reimbursement of $1,679,587.55 in litigation costs and expenses, and grant
11 incentive awards of $25,000 to each of Flo & Eddie’s principals, Howard Kaylan
12 and Mark Volman, to compensate them for their efforts supporting this litigation
13 since the inception of this case in 2013.
14
15 DATED: April 24, 2017                GRADSTEIN & MARZANO, P.C.
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16                                      Maryann R. Marzano
17                                      SUSMAN GODFREY L.L.P.
18                                      Stephen E. Morrissey
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     4913065v1/015185
Case 2:13-cv-05693-PSG-GJS Document 691 Filed 04/24/17 Page 10 of 10 Page ID
                                 #:25183


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  2
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  3                                           Steven G. Sklaver
  4                                     Co-Lead Class Counsel

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